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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
EDP                                               271 Cadman Plaza East
F. #2018R02250                                    Brooklyn, New York 11201



                                                  May 28, 2021

The Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:      United States v. Douglass Mackey, 21-CR-80 (NGG)

Dear Judge Garaufis:

              The parties respectfully request that the Court execute the attached protective
order concerning the use of discovery materials containing personal identifying information.

                                                  Respectfully submitted,

                                                  MARK J. LESKO
                                                  Acting United States Attorney

                                           By:      /s/
                                                  Erik D. Paulsen
                                                  Assistant U.S. Attorney
                                                  (718) 254-6135
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